IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

SERVICES, INC.

AT CHATTANOOGA

EZRA MAIZE and JAMES HORTON, *

oF

Plaintiffs, *

*#
Vv. *

*
SHANER TRADE CENTER * CASE NO. 1:10-CV-64
ASSOCIATES, L.P., d/b/a *
CHATTANOOGA MARRIOT HOTEL * (COLLIER/CARTER)
AND CONVENTION CENTER *
And WALDEN SECURITY a/k/a * JURY DEMAND
METROPOLITAN SECURITY **

of

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Defendants.

 

STIPULATION OF DISMISSAL WITH PREJUDICE

 

Come now all of the parties to this litigation, by and through counsel, and, pursuant to
Rule 41(a) of the Federal Rules of Civil Procedure, hereby stipulate to the dismissal of all
Plaintiffs’ claims against all parties to this cause, with prejudice, with the parties bearing their
own respective discretionary costs, if any. By filing this Stipulation of Dismissal, no party

admits any wrongdoing, fault, or liability in connection with the matters at issue in this action.

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CERTIFICATE OF SERVICE

I hereby certify that on July |, 2010, a
copy of the foregoing Stipulation of Dismissal
With Prejudice was filed electronically. Notice
of this filing wil! be sent by operation of the
Court's electronic filing system to all parties
indicated on the electronic receipt. All other
parties will be served by regular U.S. Mail.
Parties may access this filing through the Court’s
electronic filing sys

 

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